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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 CATHOLIC CHARITIES,
 DIOCESE OF FORT WORTH, INC.,
 d/b/a CATHOLIC CHARITIES
 FORT WORTH,
 249 Thornhill Dr.,
 Fort Worth, Texas 76115                       Civil No. _____________

                  Plaintiff,

 v.                                             COMPLAINT FOR DECLARATORY
                                                AND INJUNCTIVE RELIEF
 U.S. DEPARTMENT OF HEALTH AND
 HUMAN SERVICES (DHHS),
 200 Independence Avenue, S.W.
 Washington, D.C. 20201,

 and

 ROBERT F. KENNEDY, JR.,
 SECRETARY OF DHHS, IN HIS
 OFFICIAL CAPACITY ONLY,
 200 Independence Avenue, S.W.
 Washington, D.C. 20201

                Defendants.




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       Plaintiff Catholic Charities, Diocese of Fort Worth, Inc. (“CCFW”), hereby brings this action

against Defendants United States Department of Health and Human Services (“HHS”) and Robert F.

Kennedy, Jr., in his official capacity as Secretary of HHS (collectively, “HHS,” or “Defendants”) to

un-freeze federal grant funding that is obligated to CCFW by law—and essential to the services that

Congress has mandated for new arrivals to the United States who are fleeing persecution in their

home countries.

       As the Replacement Designee for the state of Texas for Defendant HHS’s Office of Refugee

Resettlement (“ORR”), CCFW provides coordination, compliance guidance, and data support, as well

as direct support services, to over 100,000 federally-documented and lawfully-admitted individuals

and families through the Congressionally-mandated and appropriated Refugee Resettlement Program

(“RRP”). The RRP provides assistance to refugees and other admitted immigrants with documented

legal status, primarily from countries such as Cuba, Afghanistan, and Ukraine, for whom the United

States government has specifically granted entry (and whom collectively the ORR terms “refugees”

for purposes of its services).

       For nearly fifty years, CCFW has faithfully provided essential services to these documented

and lawfully-admitted individuals pursuant to Congressional mandates and appropriations; moreover,

since October 2021, CCFW has served as ORR’s Replacement Designee (RD) for the state of Texas,

responsible for coordinating the RRP across the state and partnering with a state network of

contractors and sub-recipients.

       Shortly after the new Administration took office in January 2025, Defendants attempted to

unlawfully freeze federal grant funds across the federal government’s operations, including grant

funds obligated to CCFW under four open federal grant awards, most visibly via OMB Memorandum

M-25-13. While the government later rescinded that attempt, and many entities have received their



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federal funding in the weeks since the attempted funding freeze, CCFW has not been able to draw

down any funds—and has not received any indication why its funds remain frozen.

       Despite four attempts by CCFW on January 29 and 30 to obtain payment of obligated grant

funds through Defendants’ Payment Management Services system (“PMS”), and another ten requests

in the following four weeks, Defendants have persisted in unlawfully preventing CCFW from

obtaining over $36 million under its open grant agreements—an amount owing that continues to

mount with the services CCFW continues to provide, unfunded, with each passing day.

       As this Court is aware, CCFW has been far from alone in confronting Defendants’ unlawful

attempt to pause all federal grant funding. On February 25, 2025, the Honorable Judge Loren L.

AliKhan of this Court ordered that the Administration was preliminarily “enjoined from

implementing, giving effect to, or reinstating under a different name the unilateral, non-individualized

directives in OMB Memorandum M-25-13 with respect to the disbursement of Federal funds under

all open awards” and that agencies may not take any steps to implement the federal funding freeze as

contemplated by OMB Memorandum M-25-13. National Council of Nonprofits v. OMB, Civil Action

No. 25-239, Dkt. No. #52 (Feb. 25, 2025) (issuing a preliminary injunction to block the government’s

efforts to freeze federal funding).

       Defendants’ unlawful behavior, in defiance of the Constitutional authority of Articles I and

III co-equal branches of government, results in real-world harm not only to CCFW but also to the

more than 100,000 individuals and families to whom CCFW and its partner agencies provide

essential, Congressionally-mandated services. In CCFW’s case, as CCFW wrote to ORR on February

17, “the lack of payments has resulted in 24 of our 29 partner agencies experiencing staff layoff or

furloughs,” resulting in the over 100,000 eligible individuals and families “losing access to critical

services.” Neither CCFW, nor its large network of contractors and sub-recipients, have the ability to



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cover the cash flow necessary to continue operating to serve Congress’s intent without receiving the

Congressionally-appropriated funding for those services. Thus, CCFW’s partners have had to lay off

staff, close offices, and cut certain supportive services programs as a result of the lack of payments,

resulting in a frustration of CCFW’s mission and Congressional mandate.

       Accordingly, CCFW requests that this Court enjoin—temporarily, preliminarily, and

permanently—Defendants’ refusal to provide CCFW with funding under its open grant awards

through the Refugee Resettlement Program. CCFW also asks that this Court declare that Defendant

HHS’s funding freeze for the Refugee Resettlement Program, as applied to CCFW, is arbitrary and

capricious under the Administrative Procedure Act (“APA”).

                                         INTRODUCTION

       1.    Catholic Charities, Diocese of Fort Worth, Inc. (“CCFW”), brings this action because

although it has submitted fourteen (14) drawdown requests for funding via the Payment Management

Services (“PMS”) system since January 29, 2025, totaling more than $36 million, it has not received

one dollar of those requests. The consequences of this pause on federal funding have been devastating

for CCFW and the 100,000 individuals and families that it supports.

       2.    As the many orders and memorandum opinions in National Council of Nonprofits v.

OMB describe, on January 27, 2025, the Office of Management and Budget (OMB) issued

Memorandum M-25-13, which stated, in part, that all federal agencies “must temporarily pause all

activities related to obligation or disbursement of all Federal financial assistance.” The memorandum

led to widespread confusion among all federal grantees and contractors and caused organizations to

rush to draw down funds from PMS.

       3.    Less than two days later, OMB issued Memorandum M-25-14, which purported to

rescind the previous memorandum; however, as National Council of Nonprofits v. OMB also



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describes, the White House Press Secretary made clear on X (formerly Twitter) that the

Administration’s purported rescission was merely a pretext to substitute alternative justifications to

evade court injunctions to stop the funding freeze. That week, both the District Court for the District

of Rhode Island and this Court issued Temporary Restraining Orders that required agencies not to

freeze funding.

         4.    As many other federal grantees did, CCFW submitted several requests for payment

during this period, as CCFW has four open and ongoing federal grant awards with HHS. On January

29 and 30, 2025, CCFW submitted four requests to draw down a total of $25.4 million. These

requests, which are generally paid out by PMS within one or two days of the request, are still listed

as “request in transit” more than four weeks after the initial requests were made; and, while

Defendants have released other pending grant payments, Defendants have not released CCFW’s

funds.

         5.    CCFW has made ten additional drawdown requests since January 30, totaling another

$10.6 million in requested funds. As of this filing, these subsequent requests also remain listed as

“request in transit.”

         6.    Despite CCFW’s repeated requests for an explanation why HHS has paused its

funding—even though the subsequent OMB memorandum, M-25-14, facially purported to rescind

the nationwide funding pause and at least two court orders required the Defendants to unfreeze

obligated funding—HHS has not provided any response, much less a lawful rationale, why CCFW’s

funding remains frozen.

         7.    As a direct result of this chaos, CCFW has accumulated $36 million in pending, unpaid

reimbursements for services already rendered to eligible individuals across Texas and is accruing

millions more each week—with no indication that any Defendants will honor either past or future



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requests for release of funds. As discussed below, full funding is necessary to avoid significant and

irreparable harms to CCFW as well as its partners and the eligible RRP beneficiaries. These harms

include furloughing staff and shutting down refugee resettlement operations, to say nothing of the

inability to pay for rent and the array of services provided to eligible individuals for whom Congress

mandated assistance.

       8.     CCFW also faces irreparable damage to its reputation, to its ability to work with the

community, and to its relationship with its subrecipients and with the federally-documented and

lawfully-admitted individuals and families it serves. CCFW’s inability to reimburse its partner

organizations, in turn, has required some of those organizations to lay off staff and may require them

to stop providing aid for resettlement support to these individuals and families, ultimately damaging

and preventing CCFW from accomplishing its nonprofit mission.

       9.     Defendants’ funding pause contravenes appropriations-related statutes and flouts the

Article I Constitutional allocation of the power of the purse to Congress. Congress has appropriated

specific sums of money for refugee assistance and resettlement to remain available until expended,

and it has mandated that the government provide prompt and adequate funding for the initial

resettlement of populations that the government has admitted and deemed eligible for services from

agencies like CCFW. See 8 U.S.C. § 1522(a). Given the continuing availability of appropriations, the

Executive Branch cannot unilaterally and indefinitely refuse to fund those statutorily-mandated

services. See Train v. City of New York, 420 U.S. 35, 41–44 (1975).

       10.    By ignoring Congressional appropriations, moreover, the freeze on CCFW’s funding

violates the Constitution’s Spending Clause, which provides that Congress, not the Executive Branch,

decides how public funds shall be spent.




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       11.    In addition, the Impoundment Control Act sets forth specific procedural and substantive

requirements for Executive Branch attempts to delay spending of appropriated funds—requirements

that Defendants have not satisfied for CCFW or indeed for any federal grantee. 2 U.S.C. § 684. The

payment freeze on CCFW therefore exceeds the government’s statutory authority.

       12.    Moreover, the funding pause, as directed to CCFW, is arbitrary and capricious under

the Administrative Procedure Act, 5 U.S.C. §§ 701-706. Defendants have offered no explanation,

rational or otherwise, for freezing funding to CCFW for time-sensitive, urgent, and essential services

CCFW provides to government-approved RRP beneficiaries, including individuals the government

has already deemed eligible and are receiving services from CCFW and its subrecipients. Defendants

have failed to address the obvious and devastating consequences that a sudden and indefinite

funding freeze would impose on CCFW, its subrecipients, and individual RRP beneficiaries. The

net effect of Defendant’s unconsidered action is to halt progress toward the Congressionally-

mandated mission to use Congressional appropriations to the maximum extent available to allow

beneficiaries to achieve self-sufficiency “as quickly as possible.” See 8 U.S.C. § 1522(a)(1)(A).

       13.    To be clear: no other lawful action by the Defendants justifies their continued freeze of

CCFW’s payments, either. Although the Trump Administration has issued Executive Orders limiting

immigration, those Executive Orders do not apply to CCFW’s programs, which provide domestic

assistance and support services to specified categories of documented, previously-admitted

individuals located in the United States. 8 U.S.C. § 1522(a)(3); see also 45 C.F.R. § 400.43(a) (“An

applicant for assistance under [the Refugee Act] must provide proof, in the form of documentation

issued by the Immigration and Naturalization Service (INS), of one of the following statuses under

the Act as a condition of eligibility”). CCFW has not received any notifications asserting that new




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policy priorities have changed the government’s ability to fund CCFW’s existing grants—nor could

they, given the express Congressional mandates and specific Congressional appropriations.

       14.    In sum, Defendants’ freeze of funding that CCFW (and its partners) spends on refugee

resettlement services under its grant awards with HHS is unlawful. This Court should declare

Defendants’ actions unlawful, set them aside, and order Defendants to unfreeze reimbursements

pursuant to the grant awards, so that CCFW’s vital work supporting lawfully-admitted individuals

and families may continue.

       CCFW specifically alleges as follows:

                                      JURISDICTION AND VENUE

       15.      The Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331. Judicial

review of HHS’ actions is authorized under the Administrative Procedure Act (“APA”), 5 U.S.C.

§§ 701-706.

       16.    Sovereign immunity has been waived under 5 U.S.C. § 702.

       17.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(e)(1)(A). HHS is

headquartered in Washington, D.C., and Secretary Kennedy maintains his principal office in

Washington, D.C. On information and belief, Defendants’ decisions regarding CCFW’s drawdown

requests, as submitted via PMS, have been made in the District of Columbia. 28 U.S.C.

§ 1391(e)(1)(B).

                                              PARTIES

       18.    Catholic Charities, Diocese of Fort Worth, Inc. (“CCFW”), is a nonprofit charitable

agency located in Fort Worth, Texas. CCFW’s core mission is to provide service to those in need, to

advocate compassion and justice in the structures of society, and to call all people of good will to do

the same. Through the Congressionally-mandated Refugee Resettlement Program (“RRP”), CCFW



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provides resettlement support services to government-approved, legally admitted, refugees and other

individuals falling under specified categories originating from counties such as Afghanistan, Cuba,

Ukraine, and others.

        19.    Defendant U.S. Department of Health and Human Services (“HHS”) is an agency of the

government of the United States within the meaning of 5 U.S.C. § 701(b)(1). Congress established

the position of Director and Office of Refugee Resettlement (“ORR”) within HHS to take care that

Congressional mandates regarding the Refugee Resettlement Program (“RRP”) be faithfully executed

and disburse funds Congress appropriated for RRP. Among other things, Defendant HHS has the

responsibility to process and pay RRP grant funds to CCFW pursuant to the terms of the grant awards.

        20.    Defendant Robert F. Kennedy, Jr. is the Secretary of HHS. Secretary Kennedy is sued

in his official capacity.

       LEGAL BACKGROUND ON THE REFUGEE RESETTLEMENT PROGRAM

                                 A. STATUTORY BACKGROUND

        21.      As Defendant HHS’s website describes, the United States Congress has authorized

and appropriated funds for the resettlement of refugees since the conclusion of World War II

“reflecting our core values and our tradition of being a safe haven for the oppressed.” HHS Office of

the Administration for Children & Families, Office of Refugee Resettlement, “History,” available at

https://acf.gov/orr/about/history (accessed on February 23, 2025).

        22.      Defendant HHS’s website continues: “The Refugee Act of 1980 created The Federal

Refugee Resettlement Program to provide for the effective resettlement of refugees and to assist them

to achieve economic self-sufficiency as quickly as possible after arrival in the United States.” Id.,

“The Refugee Act,” available at https://acf.gov/orr/policy-guidance/refugee-act (accessed on

February 23, 2025).



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       23.       Indeed, as Congress stated in its Declaration of Policies and Objectives for title IV of

the Immigration and Nationality Act, also known as the Refugee Act of 1980, Pub. L. 96-212, title I,

§ 101, 94 Stat. 102 (Mar. 17, 1980):

             a. it is the historic policy of the United States to respond to the urgent needs of persons
                subject to persecution in their homelands, including, where appropriate, humanitarian
                assistance for their care and maintenance in asylum areas, efforts to promote
                opportunities for resettlement or voluntary repatriation, aid for necessary
                transportation and processing, admission to this country of refugees of special
                humanitarian concern to the United States, and transitional assistance to refugees in
                the United States….

             b. The objectives of this Act are to provide a permanent and systematic procedure for the
                admission to this country of refugees of special humanitarian concern to the United
                States, and to provide comprehensive and uniform provisions for the effective
                resettlement and absorption of those refugees who are admitted.

       24.       To accomplish its objectives, Congress created the Office of Refugee Resettlement

(“ORR”) within Defendant HHS “to fund and administer” refugee resettlement program services. 8

U.S.C. § 1521.

       25.       The statute directs that “the Director shall, to the extent of available appropriations,”

make available resources for refugees to achieve Congress’s stated resettlement objectives “as quickly

as possible,” including, among others: employment training and placement; English language

training; and cash assistance. See 8 U.S.C. § 1522(a)(1)(A) (emphasis added). The statute authorizes

the Secretary of HHS to issue regulations to carry out these and other objectives through the making

of grants to and contracts with public or private nonprofit agencies. 8 U.S.C. § 1522(a)(9); see

generally 8 U.S.C. § 1522(b)-(e).

       26.       The statute also specifies that the Director shall “insure that women have the same

opportunities as men to participate in training and instruction,” 8 U.S.C. § 1522(a)(1)(A), and that

“[a]ssistance and services funded under this section shall be provided to refugees without regard to

race, religion, nationality, sex, or political opinion,” 8 U.S.C. § 1522(a)(5). The statute further

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requires the submission of state plans to the Director providing a description of how the state

coordinator will ensure compliance with the Congressionally mandated statutory requirements. 8

U.S.C. § 1522(a)(6).

       27.      ORR’s RRP program operates in coordination with the State Department, which

provides initial, short-term assistance for the admission of refugees, while ORR implements grants

to provide longer-term assistance in host communities within the United States following admission.

See id. Although certain individuals travel to the United States on their own and apply through the

Department of Homeland Security for asylum, such individuals (with the statutory exceptions for

certain Cuban and Haitian immigrants described below) qualify for assistance through ORR only

after an authorized federal government entity grants their asylum application, not while their

application is pending. See generally ORR, “Fact Sheets: Eligibility & Benefits,” available at

https://acf.gov/orr/programs/refugees/factsheets (accessed Feb. 28, 2025). In other words, even in the

case of asylees, individuals labeled under ORR’s generalized terminology as “refugees” each first

obtain documented, legal immigration or parolee status within the United States from the federal

government before qualifying for RRP refugee resettlement benefits.

       28.      Congress has from time to time expanded the scope of the services provided under

ORR, so that the categories of individuals eligible to receive ORR benefits now include seven

additional distinct groups, as reflected on ORR’s website, https://acf.gov/orr/about/what-we-do:

             a. In 1980 and 1981, Congress expanded refugee resettlement services to include

                individuals with an immigration status of Cuban-Haitian entrant (status pending) for

                a 36-month period after acquiring that status. See 8 U.S.C. § 1522 note; see also Pub.

                L. 96-422, 94 Stat. 1799, 1810 (Oct. 10, 1980); Pub. L. 97-35, 95 Stat. 357, 463 (Aug.

                13, 1981).



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b. In 1988, Congress expanded refugee resettlement services to include certain

   immigrants from Vietnam. See 8 U.S.C. § 1101 note.

c. In 1998, Congress expanded refugee resettlement services to include specified torture

   survivors. See 22 U.S.C. § 2152 note; Torture Victims Relief Act of 1998, Pub. L.

   105-320, 112 Stat. 3016, 3017-18 (Oct. 30, 1998).

d. In 2000 and 2008, Congress expanded refugee resettlement services to include adult

   and child victims of human trafficking. See 8 U.S.C. § 1232(d)(4)(A); William

   Wilberforce Trafficking Victims Protection Reauthorization Act of 2008, Section 235,

   Pub. L. 110-457, 122 Stat. 5044, 5080 (Dec. 23, 2008); 22 U.S.C. § 7105(b)(1)(A);

   Victims of Trafficking and Violence Protection Act of 2000, Section 107, Pub. L. 106-

   386, 114 Stat. 1464, 1475 (Oct. 28, 2000).

e. In 2008 and subsequent years, Congress expanded refugee resettlement services to

   include certain immigrants from Iraq. See 8 U.S.C. § 1157 note.

f. In 2009 and 2021, Congress expanded refugee resettlement services to include certain

   immigrants from Afghanistan. See 8 U.S.C. § 1101 note; Extending Government

   Funding and Delivering Emergency Assistance Act, Pub. L. 117-43, div. C., title V,

   § 2502, 135 Stat. 344, 377 (Sep. 30, 2021); Afghan Allies Protection Act (part of the

   Omnibus Appropriations Act, 2009), Pub. L. 111-8, Section 602, 123 Stat. 524, 809

   (Mar. 11, 2009).

g. In 2022, Congress expanded refugee resettlement services to include certain

   immigrants from Ukraine. See 8 U.S.C. § 1101 note; Additional Ukraine

   Supplemental Appropriations Act, 2022, Pub. L. 117-128, 136 Stat. 1211, 1218 (May

   21, 2022).



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       29.     More recently, Congress appropriated over $6.3 billion in funds for the continued

operation of ORR’s refugee resettlement activities under this statute and others, to be available

through September 30, 2025, in the Consolidated Appropriations Act of 2023. Pub. L. 117-328, 136

Stat 4459, 4870-71 (Dec. 29, 2022).

       30.     Additionally, Congress has frequently appropriated additional funds for ORR’s

refugee resettlement programs, particularly to aid the resettlement of lawfully-admitted individuals

from Afghanistan and Ukraine. For example, Congress appropriated $2.5 billion in funds for the

continued operation of ORR’s refugee resettlement activities under the Refugee Act and others, to be

available through September 30, 2024, in Sections 141 and 142 of Pub. L. 117-43, 135 Stat. 344, 353

(Sep. 30, 2021). In that same law, in a section identified as the Afghanistan Supplemental

Appropriations Act, 2022, Congress appropriated an additional $1.68 billion in funds to remain

available until September 30, 2023 for refugee and entrant assistance activities in support of Afghan

nationals admitted as refugees. Id. at 374. 1

       31.     Similarly, Congress appropriated $900 million, to be available through September 30,

2023, for refugee and entrant assistance in support of nationals of Ukraine. See Additional Ukraine

Supplemental Appropriations Act, 2022, Pub. L. 117-128, 136 Stat. 1211, 1217 (May 21, 2022).

       32.     Congress enacted these and other appropriations to fund the grants and services

necessary to effectuate its purpose under the Refugee Act and related provisions. At the time that

ORR awarded CCFW the grants at issue in this matter and continuing to the date of this filing,

Congress has appropriated to funding for ORR to meet its payment disbursement obligations under




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  See also Pub. L. 117-70, 135 Stat. 1499, 1500 (Dec. 3, 2021) (same; Afghan refugee appropriation
in amount of $1,263,728,000 available through Sep. 30, 2023); Pub. L. 117-180, 136 Stat. 2114, 2123
(Sep. 30, 2022) (same; Afghan refugee appropriation in amount of $1,775,000,000 available through
Sep. 30, 2025).
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those grants. Defendant HHS included citations to many of the appropriations above in its grant

awards to CCFW.

                                B. REGULATORY BACKGROUND

       33.     The Office of Refugee Resettlement’s implementing regulations for the Refugee Act

as authorized by Congress appear at 45 C.F.R. Chapter IV, Parts 400, 401, 402, 410, and 411. See

also 8 U.S.C. § 1522(a)(9) (providing for regulatory authority).

        34. Under ORR regulations for grants to states for refugee resettlement, states or

replacement designees (“RDs”)—that is, entities that ORR designates if a state government is

unwilling or unable to participate in the Refugee Resettlement Program—coordinate the RRP

program for ORR in the respective state. 45 C.F.R. § 400.8.

        35. Pursuant to 45 C.F.R. § 400.301, when a state government agency partially or fully

withdraws from the administration of the Refugee Resettlement Program, ORR can designate one or

more replacement designees (RDs) to administer the provision of assistance and services in that state.

       36.   For decades, the U.S. federal government has partnered with refugee resettlement

agencies to assist individuals and families—who are vetted by the federal government and admitted

to the United States legally—as they attempt to set up new lives within the country.

       37.   CCFW has been assisting with the resettlement of such individuals and families since

the fall of Vietnam in 1975. For 50 years, CCFW has served those who have been forced to leave

their homeland because of a well-founded fear of persecution based on race, religion, nationality,

political opinion, or membership in a particular social group.

       38.     The state of Texas announced its withdrawal from the ORR refugee resettlement

program in 2016. In early 2017, ORR first assigned four regional replacement designees. ORR

designated CCFW as the Regional Replacement Designee for Texas Region 2 in north Texas on


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January 31, 2017. See ORR, Dear Colleague Letter 17-03 (Mar. 3, 2017), available at

https://acf.gov/orr/policy-guidance/texas-replacement-designees (accessed Feb. 28, 2025).

       39.   Beginning in 2021, ORR offered competitive awards for the role of RD in each state.

ORR selected CCFW as the Replacement Designee for the state of Texas, effective for Fiscal Year

2022 through Fiscal Year 2026, to administer Refugee Support Services (“RSS”) and Refugee Cash

and Medical Assistance (“RCMA”) programs. ORR, Dear Colleague Letter 22-02, Replacement

Designee     Selections    for    Fiscal    Year        2022     (Oct.   5,     2021),   available   at

https://acf.gov/sites/default/files/documents/orr/ORR-DCL-22-02-FY2022-Replacement-Designee-

Selections.pdf (accessed Feb. 28, 2025).

       40.   In its role as RD for the state of Texas, CCFW operates the official Texas refugee

resettlement services website, Texas Office for Refugees, and coordinates support for twenty-nine

(29) partner agencies providing essential RRP services across the state. See Texas Office for

Refugees, available at https://txofficeforrefugees.org/ (accessed Feb. 28, 2025).

       41.   ORR regulations 45 C.F.R §§ 400.4 – 400.9 outline the process RDs like CCFW

undertake to submit a state plan to ORR for approval in order to receive refugee resettlement

assistance funds appropriated under section 414 of the Immigration and Nationality Act (that is, the

Refugee Act).

       42.   On January 14, 2025, Ken Tota, Bureau Chief of the Refugee Program Bureau within

the Office of Refugee Resettlement, approved by letter the Texas State Plan for Fiscal Year 2025 that

CCFW submitted to ORR as Texas RD. (See Exh. A, January 14, 2025 Letter from K. Tota to J. Audi;

see also Exh. B, Texas Office for Refugees FY2025 Texas State Plan, OMB Control No. 0970-0351).

The letter informed CCFW that ORR had approved the Texas FY 2025 State Plan and that ORR

deemed the plan compliant with ORR’s regulations per 45 C.F.R. Part 400; the Afghanistan



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Supplemental Appropriations Act, 2022 and succeeding legislation; and the Additional Ukraine

Supplemental Appropriations Act, 2022. The letter closed by stating: “[we] appreciate the work of

your office to successfully resettle ORR-eligible clients in Texas, and we look forward to continuing

our partnership.”

                              C. CCFW’S FOUR OPEN GRANT AWARDS

         43.   Given the foregoing statutory and regulatory framework, CCFW operates under four

open and ongoing federal grant awards from Defendant HHS that are the subject of this case. Two of

those grants are for Refugee Support Services, and two are for Refugee Cash and Medical Assistance

programs:

                a.        Refugee Support Services: Award #24ABTXRSSS-05 (budget period October
                          1, 2023 through September 30, 2025); in the amount of $58,370,768.00
                          (which, when added to $37,591,284.00 in federal funds otherwise obligated in
                          the applicable budget period, totaled $95,962,052.00 in federal award);

                b.        Refugee Support Services: Award #25ABTXRSSS-00 (budget period October
                          1, 2024 through September 30, 2026); in the amount of $58,818,851.00;

                c.        Refugee Cash and Medical Assistance: Award # 2404TXRCMA-05 (budget
                          period from October 1, 2023 to September 30, 2025); in the amount of
                          $5,264,271.00 (which, when added to $273,619,806.00 in federal funds
                          otherwise obligated in the applicable budget period, totaled $278,884,077.00
                          in federal award);

                d.        Refugee Cash and Medical Assistance: Award # 2504TXRCMA-00 (budget
                          period from October 1, 2024 to September 30, 2026); in the amount of
                          $25,666,162.00.

                                     FACTUAL BACKGROUND
                     A.     CCFW’S SUPPORTIVE SERVICES TO REFUGEES
         44.   As described above, national refugee resettlement organizations often partner with a

wide network of local affiliates that help newly-arrived individuals and families enroll children in

school, find housing and cover rent, find employment, and sign up for health insurance, among other

tasks.
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       45.    Through the Texas Office for Refugees and partner agencies as Texas RD, as well as

directly, CCFW currently supports more than 100,000 eligible individuals and families in Texas

under the Refugee Support Services and Cash and Medical Assistance programs.

       46.    Cash and Medical Assistance (CMA) consists of two sub-programs: Refugee Cash

Assistance (RCA) and Refugee Medical Assistance (RMA).

             a. The RCA program provides individuals and families from ORR-eligible populations,

                as authorized by Congress, who are ineligible for Temporary Assistance for Needy

                Families (TANF), up to twelve months of cash assistance and provides referrals to

                meet core needs while participants seek self-sufficiency.

             b. The RMA program provides up to twelve months of medical coverage to ORR-eligible

                populations who are ineligible for Medicaid. The benefits mirror Medicaid in each

                state.

       47.    Refugee Support Services (RSS) includes fourteen (14) sub-programs, including but not

limited to English language instruction, job readiness and placement services, civics instruction to

prepare for completion of the U.S. Citizenship and Immigration Service (USCIS) Naturalization

Interview and Civics Test, pre-high school equivalency instruction to prepare for a standard General

Educational Development (GED) course or to take the GED Exam, and vocational training.

       48.    CCFW has provided the array of services under RRP to hundreds of thousands of

refugee individuals and families for decades with excellence, as evidenced in part by ORR’s

continued confidence in CCFW to coordinate ORR’s statewide refugee services as Replacement

Designee for Texas since 2021 and as a regional Replacement Designee since 2017.




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      B.      DEFENDANT’S UNLAWFUL ATTEMPT TO FREEZE GRANT FUNDS

       49.   On January 27, 2025, Matthew J. Vaeth, acting director of the Office of Management

and Budget, issued a memorandum, M-25-13, titled “Temporary Pause of Agency Grant, Loan, and

Other Financial Assistance Programs.” This memorandum was issued less than two weeks after

CCFW received the letter from ORR described above approving CCFW’s FY 2025 State Plan as the

State of Texas RD.

       50.   The OMB Memorandum stated, in part, that all federal agencies “must temporarily

pause all activities related to obligation or disbursement of all Federal financial assistance, and other

relevant agency actions that may be implicated by the executive orders, including, but not limited to,

financial assistance for foreign aid, nongovernmental organizations, DEI, woke gender ideology, and

the green new deal.” It ordered that the “pause” would take effect on January 28, 2025 at 5 p.m. and

did not provide an end date for the pause.

       51.   The OMB memorandum directed federal agencies, “for each Federal financial

assistance program: (i) assign responsibility and oversight to a senior political appointee to ensure

Federal financial assistance conforms to Administration priorities; (ii) review currently pending

Federal financial assistance announcements to ensure Administration priorities are addressed, and,

subject to program statutory authority, modify unpublished Federal financial assistance

announcements, withdraw any announcements already published, and, to the extent permissible by

law, cancel awards already awarded that are in conflict with Administration priorities, and; (iii) ensure

adequate oversight of Federal financial assistance programs and initiate investigations when

warranted to identify underperforming recipients, and address identified issues up to and including

cancellation of awards.”




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       52.   Notably, one EO, entitled “Realigning the United States Refugee Admissions Program,”

available at https://www.whitehouse.gov/presidential-actions/2025/01/realigning-the-united-states-

refugee-admissions-program/, purported to direct the State Department not to admit additional

refugees into the United States. Regardless of the legality of such a directive given the separate

Congressional mandates to the State Department under the Refugee Act, however, neither that EO

nor any other contained any executive order to freeze or withhold funds for the RRP programs serving

individuals or families who were already lawfully admitted to the United States—nor would any such

order or action be lawful in light of the Congressional mandates and appropriations described above.

       53.   A separate Executive Order titled “Protecting the American People Against Invasion,”

dated January 20, 2025, directed the Attorney General and the Secretary of Homeland Security to

review all “contracts, grants, or other agreements providing Federal funding to non-governmental

organizations supporting or providing services” to immigrants without legal status, and to pause

disbursement of funds pending the results of the review. Again, this EO neither directed, nor could it

direct, any executive action to freeze or withhold funds from RRP programs serving individuals or

families who were present in the United States with documented legal status.

       54.   Individuals and families who qualify for the Refugee Resettlement Program—mainly

from countries such as Cuba, Afghanistan, and Ukraine—have received documented, legal status

within the United States pursuant to longstanding statutory authority. In short, as the Congressional

purpose described above makes clear—these are documented immigrants receiving Congressionally

mandated benefits.

       55.   Defendants nevertheless did, indeed, freeze all grant funds under RRP and other

programs. Many federal funding recipients, including CCFW, attempted to draw down funds from

Payment Management System (“PMS”), which provides centralized electronic grant and grant-type



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payment, cash management, and grant accounting support services to HHS. As well documented by

contemporaneous press reports and court filings, including Defendants’ own admissions, the chaos

Defendants caused through their sudden and unexplained freeze resulted in a rush by thousands of

grantees to draw down funds through PMS, leading to a crash of the PMS system.

        56.   The ability to drawdown federal grant funds in advance is a core principle of federal

grant law. Under 45 C.F.R. § 75.305(b)(1), a federal grantee like CCFW “must be paid in advance,

provided it maintains or demonstrates the willingness to maintain both written procedures that

minimize the time elapsing between the transfer of funds and disbursement by the non-Federal entity,

and financial management systems that meet the standards for fund control and accountability as

established in this part.”

        57.   CCFW has successfully managed its ORR federal grants—and many other federal

grants in past decades—and has never received an audit or other finding stating or suggesting that its

financial management systems failed to meet this standard. It certainly did not receive any such

finding in advance of the Defendants’ freeze of CCFW’s RRP funding.

        58.   Other groups representing federal grantees and contractors filed lawsuits to block the

implementation of the funding pause as contemplated in the OMB Memorandum. On January 28,

2025, the day that the funding pause was slated to take effect, one court granted a Temporary

Restraining Order to block its implementation.

        59.   On January 29, 2025, a new OMB memorandum was issued—M-25-14—stating that

the original funding freeze memorandum was rescinded. The new memorandum, which was directed

to “heads of executive departments and agencies,” features a two-sentence statement reading: “OMB

Memorandum M-25-13 is rescinded. If you have questions about implementing the President’s

Executives Order, please contact your agency General Counsel.”



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         C.   CCFW SUBMITS DRAWDOWN REQUESTS TO ACCESS FUNDING

       60.    On January 29 and 30, 2025, CCFW made four different requests for payment under

PMS.

       61.    On January 29 at 9:42 a.m., CCFW requested $2,613,882.85. As of February 26, the

payment request remains unfulfilled and the status is listed as “request in transit.”

       62.    On January 29 at 10:51 a.m., CCFW requested $1,028.87. As of February 26, the

payment request remains unfulfilled and the status is listed as “request in transit.”

       63.    On January 29 at 3:46 p.m., CCFW requested $16,050,866.85. As of February 26, the

payment request remains unfulfilled and the status is listed as “request in transit.”

       64.    On January 30 at 11:39 a.m., CCFW requested $6,787,142.47. As of February 26, the

payment request remains unfulfilled and the status is listed as “request in transit.”

       65.    On February 4, 2025, as CCFW’s initial payment requests remained pending, CCFW

communicated with Mr. Ken Tota, Bureau Chief of the Refugee Program Bureau within the Office

of Refugee Resettlement, about the status of the payment requests. Mr. Tota responded: “We are

working to process payments. We kindly request the general ledger (GL) detail that supports the

following draw requests you made from PMS as per the list provided that includes your full

accounting record for the draw request at the transaction level with a crosswalk to the identified

requested payments to your accounting record along with details as to the specific products, services,

and/or personnel costs associated with these requests for payment.” CCFW responded less than 90

minutes later to Mr. Tota with the documentation that he requested in support of CCFW’s draw down

requests; however, the status of CCFW’s payment requests has not changed.

       66.    CCFW also e-mailed ORR on February 3, February 7, and February 10 regarding the

status of the requested funds, but has not received any response.



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       67.    Following those initial drawdown requests, CCFW continued to make additional

requests via PMS during the week of February 10th and following. In total, CCFW’s fourteen

drawdown requests made in the weeks following the chaos of the federal funding pause—and

subsequent purported rescission of that pause—totaled a combined $36 million.

       68.    On February 17, 2025, CCFW sent a letter to Ben Goldhaber, the assistant secretary for

the Administration of Children and Families (“ACF”), seeking ACF’s “urgent assistance” in

facilitating the processing of CCFW’s payments requests submitted through PMS. The letter

informed ACF that neither CCFW nor its large network of partner agencies had the wherewithal to

cover the cash flow necessary to operate such a large program and that, because CCFW has not

received any of the requested funds, its partner agencies would have to lay off staff and close offices.

CCFW has not received any response from ACF to the February 17 letter.

             D. COURT ISSUES PRELIMINARY INJUNCTION BLOCKING ANY
                    IMPLEMENTATION OF THE FUNDING FREEZE

       69.    As indicated above, on February 25, 2025 Judge AliKhan of this Court granted a

preliminary injunction blocking any continued attempts by Defendants to freeze federal grant funds,

including those at issue in this case.

       70.    Judge AliKhan took note of statements and actions of Defendants that appeared to

evince a purposeful attempt to evade the orders of this Court and that of the District Court for the

District of Rhode Island in a parallel case. Noting the statements of the White House press secretary,

Judge AliKhan wrote: “By any reading of the Press Secretary’s remarks, the memorandum’s

retraction was an empty gesture. At best, it was meaningless. At worst, it was a brazen attempt to

deprive the court of jurisdiction without actually altering course.”

       71.    Judge AliKhan further took judicial notice of the opinion of the Rhode Island district

court finding that the Defendants had continued to freeze certain funds—much as Defendants have

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done with CCFW—in violation of that court’s order. “Defendants cannot convincingly tell this court

that there is no longer a need for injunctive relief after they were found to be in violation of another

court’s order.” (emphasis in original)

       72.   Accordingly, Judge AliKhan ordered Defendants preliminarily enjoined from

continuing any freeze of federal grant funds in any form or under any name or pretense—including

the frozen grant funds obligated to CCFW.

      E.      THE FUNDING FREEZE HAS INFLICTED IRREPARABLE HARM ON
                       CCFW’S OPERATIONS AND MISSION

       73.   As a result of Defendants’ unlawful freeze of CCFW’s funds, CCFW has witnessed and

experienced widespread harm across the many programs and services that CCFW, through its partners

and subrecipients, offer to eligible individuals and families. For example, over 10,000 individuals to

whom CCFW provides services have not been able to receive their RCA payments, which has led to

evictions from apartments, apartment occupancy dropping, and the potential that apartment

complexes will not be able to operate and owners will have to sell and shut down operations.

       74.   As of the end of February 2025, CCFW has seen a 64% drop in its partners’ staffing

capacity, and that continues to grow daily. CCFW has witnessed nearly 750 partner agency staff laid

off or furloughed since the funding freeze took effect. These layoffs are leading to unemployment

issues and housing struggles as the employment market is now flooded with unemployed non-profit

staff. Not least, these layoffs prevent CCFW from fulfilling its mission as RD and as a provider of

RRP assistance.

       75.   Many refugee programs across the state have shut down services to walk-in clients due

to staffing capacity, and many of them have also had to shut down services to clients that were

currently enrolled in programs. Without the assistance of these programs, individuals and families

whom the United States government documented, admitted, and established as eligible are going

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without assistance in finding a job and navigating the hiring process; navigating a complex healthcare

system; receiving assistance enrolling children in and navigating school systems; and participating in

educational opportunities to learn English, all of which are parts of the Congressional mandate to aid

these individuals’ integration into communities across Texas.

       76.   Significantly, CCFW and its partners have seen that the funding freeze has seriously

eroded trust and confidence within the communities with whom they have engaged to encourage the

welcoming of individuals and families who are lawfully-admitted to the United States under the

Congressionally-approved authorities described above. That damage is lasting and irreparable.

                                           CAUSES OF ACTION

                                                  COUNT 1

         APA—VIOLATION OF STATUTORY AUTHORITY, APPROPRIATIONS, AND

                                        THE SPENDING CLAUSE

       77.   Plaintiff incorporates the preceding paragraphs by reference.

       78.   The Administrative Procedure Act authorizes this Court to hold unlawful and set aside

agency action that is “contrary to constitutional right, power, privilege or immunity,” “in excess of

statutory jurisdiction, authority or limitation, or short of statutory right,” or “without observance of

procedure required by law.” 5 U.S.C. § 706(2)(B)-(D).

       79.   Defendants’ actions to freeze all funding designated for CCFW undermines the

Constitution’s separation of powers, contravenes statutes requiring the government to provide certain

forms of refugee assistance, and violates the Impoundment Control Act’s substantive requirements.

       80.   The Constitution vests the power of the purse in Congress. The Appropriations Clause

and Article I ensure “that public funds will be spent according to the letter of the difficult judgments




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reached by Congress as to the common good and not according to the individual favor of

Government agents.” Off. of Pers. Mgmt. v. Richmond, 496 U.S. 414, 427–28 (1990)

(emphasis added).

       81.   The Spending Clause vests Congress with the power to direct Treasury funds and to

expend those funds for the “general Welfare of the United States.” U.S. Const. art. I, § 8, cl. 1. Courts

have consistently interpreted the Spending Clause as allowing Congress to impose requirements for

the Executive Branch to spend federal funds.

       82.   When the Executive Branch ignores Congress’s instructions, it arrogates to itself

Congress’s power of the purse. Here, by failing to remit payments to CCFW under the

Congressionally mandated and appropriated Refugee Resettlement Program, Defendants have

unlawfully defied Congressional authority. First, the funding freeze contravenes Congress’s

command that the government must promptly provide certain services to admitted refugees, as

reflected in the authorizations and appropriations cited above. See, e.g., Consolidated Appropriations

Act of 2023, Pub. L. 117-328, 136 Stat 4459, 4870-71 (Dec. 29, 2022) (appropriating over $6.3 billion

for RRP to be available through Sept. 30, 2025); Pub. L. 117-180, 136 Stat. 2114, 2123 (Sep. 30,

2022) (Afghan refugee appropriation in amount of $1,775,000,000 available through Sep. 30, 2025).

       83.   Moreover, the funding freeze as applied to CCFW is unlawful because it violates the

Impoundment Control Act. The Impoundment Control Act provides for procedural requirements for

deferring budget activities required by Congress. If an agency intends to defer spending money that

it has been appropriated, “the President shall transmit” a special message to Congress specifying,

among other things, how much budget authority he wishes to defer and for how long, the specific

projects or governmental functions involved, his reasons and legal authority for doing so, and the

“fiscal, economic, and budgetary effect of the proposed deferral.” 2 U.S.C. § 684(a).



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       84.     The Impoundment Control Act imposes substantive limits on the Executive Branch’s

authority to defer budget authority. Defendants’ decision to pause the disbursement of all funds to

CCFW effects a “deferral of budget authority” within the meaning of the Act because it has halted

disbursement of $36 million in funds that Congress has appropriated for refugee resettlement support

services.

       85.     Accordingly, Defendants’ decision to pause funding violates statutory authority,

appropriations statutes, and the Impoundment Control Act, all of which contravene the Constitution’s

separation of powers—and thus are unlawful.

                                                  COUNT II

                                 ADMINISTRATIVE PROCEDURE ACT

                          ARBITRARY AND CAPRICIOUS AGENCY ACTION

       86.     Plaintiff incorporates the preceding paragraphs by reference.

       87.     The APA authorizes this Court to hold unlawful and set aside agency action that is

“arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C.

§ 706(2)(A).

       88.     The funding freeze, as applied to CCFW, represents an arbitrary and capricious agency

action. Defendants have given no reasoned explanation for their decision to halt all funding for

CCFW, as indeed they could not, and have ignored their own regulations. As described above,

Defendants have ignored repeated requests from CCFW for any explanation.

       89.     First, under federal grant law, a federal grantee like CCFW “must be paid in advance,

provided it maintains or demonstrates the willingness to maintain both written procedures that

minimize the time elapsing between the transfer of funds and disbursement by the non-Federal entity,

and financial management systems that meet the standards for fund control and accountability as



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established in this part.” See 45 C.F.R. § 75.305(b)(1). Defendants have offered no explanation, as

indeed they could offer none, how their decision to freeze all of CCFW’s federal funding complies

with the advance payment provisions of 45 C.F.R. § 75.305(b)(1).

       90.    Moreover, Defendants have demonstrated no reasoned decision making—as again, they

could not—given the serious and detrimental harms their sudden and prolonged funding freeze has

had on CCFW, its partner agencies, and the individual RRP beneficiaries CCFW serves, including

irreparable damage to CCFW’s reputation, relationships, and mission, and to individuals and families

who may lose essential supportive services—including access to housing, education, and job

training—during their period of eligibility for RRP services.

       91.    No statute or regulation requires or permits Defendants to persist in their freeze of

payments to CCFW. Even if the Executive Orders described above could somehow satisfy the

requirements for legal authority under the Administrative Procedure Act—which they cannot—as

described, no Executive Order directs or permits Defendants to freeze funds for RRP supportive

services for eligible individuals whom the federal government has previously documented and

admitted.

       92.    As also previously indicated, Defendants have not articulated, nor could they articulate,

any other basis to depart from their own regulatory prompt payment requirements that they

incorporated into their grant award. The government’s departure from its own regulations, without

explanation, independently violates the APA.

       93.    For these reasons, the government’s refusal to unfreeze CCFW’s funds is arbitrary and

capricious in violation of the APA.




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                                     REQUEST FOR RELIEF

       WHEREFORE, Plaintiff Catholic Charities, Diocese of Fort Worth, Inc., respectfully requests

that this Court enter judgment on its behalf, providing the following relief:

       1.     Declare that Defendant HHS’s funding freeze for the refugee resettlement program, as

applied to CCFW, violates the Refugee Act of 1980, the Impoundment Control Act, and the

separation of powers;

       2.     Declare that Defendant HHS’s funding freeze for the refugee resettlement program, as

applied to CCFW, is arbitrary and capricious under the APA;

       3.     Hold unlawful and set aside the refugee resettlement funding freeze as applied to

CCFW;

       4.     Enjoin—temporarily, preliminarily, and permanently—Defendants from taking any

action enforcing or implementing against CCFW any version of a funding freeze pertaining to the

refugee resettlement program; and

       5.     Afford CCFW other and further relief as the Court deems just and equitable.

Dated: March 3, 2025                          Respectfully submitted,




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